Case 20-50133-grs           Doc 55      Filed 02/06/20 Entered 02/06/20 07:04:35                      Desc Main
                                        Document     Page 1 of 33


                          UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF KENTUCKY
                                 LEXINGTON DIVISION

                                      )
 In re:                               )                     Chapter 11
                                      )
                                   1
 GenCanna Global USA, Inc., et al.,   )                     Case No. 20-50133-grs
                                      )
        Debtors.                      )                     (Joint Administration Requested)
                                      )
                                      )                     Honorable Gregory R. Schaaf
______________________________________)


          DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS
    (I) AUTHORIZING THE DEBTORS TO (A) OBTAIN POSTPETITION FINANCING
          AND (B) UTILIZE CASH COLLATERAL, (II) GRANTING LIENS AND
        SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS, (III) GRANTING
         ADEQUATE PROTECTION, (IV) MODIFYING THE AUTOMATIC STAY,
    (V) SCHEDULING A FINAL HEARING, AND (VI) GRANTING RELATED RELIEF


         GenCanna Global USA, Inc. (“GenCanna”) and its affiliated debtors and debtors in

possession in the above-captioned cases (the “Debtors”) hereby file this Motion for Entry of

Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and (B)

Utilize Cash Collateral, (II) Granting Liens and Superpriority Administrative Expense Claims,

(III) Granting Adequate Protection, (IV) Modifying the Automatic Stay, (V) Scheduling a Final

Hearing, and (VI) Granting Related Relief (the “Motion”), pursuant to sections 105, 361, 362, 363,

364, 503 and 507of title 11 of the United States Code (the “Bankruptcy Code”). In support of the

Motion, the Debtors respectfully state as follows:




1
 The Debtors in these chapter 11 bankruptcy cases are (with the last four digits of their federal tax identification
numbers in parentheses): GenCanna Global USA, Inc. (0251); GenCanna Global, Inc. (N/A); and Hemp Kentucky
LLC (2600).



20826820.1
Case 20-50133-grs               Doc 55      Filed 02/06/20 Entered 02/06/20 07:04:35                Desc Main
                                            Document     Page 2 of 33


                                               RELIEF REQUESTED

           1.        By this Motion, the Debtors seek entry of an interim order (the “Interim Order”),

substantially in the form attached hereto as Exhibit A,2 and a final order:3

                     (a)      authorizing the Debtors to obtain up to $10 million (the “DIP
                              Commitment”) in senior secured post-petition financing on a superpriority
                              basis (the “DIP Facility”) pursuant to (and in accordance with the terms of)
                              that certain Debtor In Possession Secured Multi-Draw Term Promissory
                              Note, by and among GenCanna Global USA, Inc., as borrower (the
                              “Borrower”), GenCanna Global, Inc. and the Borrower’s direct and indirect
                              wholly owned subsidiaries, as guarantors (the “Guarantors”), MGG
                              Investment Group LP (“MGG”), as agent (in such capacity, together with
                              its successors and assigns in such capacity, the “DIP Agent”), and the
                              lenders from time to time party thereto (each a “DIP Lender” and
                              collectively, the “DIP Lenders” and, together with the DIP Agent, the “DIP
                              Secured Parties”), on the terms and conditions substantially in the form
                              annexed to the Interim Order as Exhibit A (as the same may be amended,
                              restated, amended and restated, supplemented, waived, extended, or
                              otherwise modified from time to time, the “DIP Loan Agreement,” and the
                              DIP Loan Agreement, together with any other related agreements,
                              documents, security agreements, or pledge agreements, including the
                              Interim Order and the Final Order (as defined below), collectively, the “DIP
                              Loan Documents”), which DIP Facility shall be available as term loans (the
                              “DIP Loans”) to the Debtors upon entry of the Interim Order and
                              satisfaction of the other conditions set forth in the DIP Loan Documents in
                              an initial amount not to exceed $2,750,000 (the “Initial DIP Loan”), and the
                              remainder of the DIP Facility available upon entry of the Final Order and
                              satisfaction of the other conditions set forth in the DIP Loan Documents;

                     (b)      authorizing the Borrower and the other Debtors to enter into the DIP Loan
                              Agreement and the other DIP Loan Documents and to take such other and
                              further acts as may be required in connection with the DIP Loan
                              Documents;

                     (c)      authorizing the Debtors to pay all amounts, obligations, and liabilities
                              owing or payable to the DIP Secured Parties pursuant to the DIP Loan
                              Documents, including, without limitation, any principal, interest, fees,
                              commitment fees, administrative agent fees, audit fees, closing fees, service
                              fees, facility fees, or other fees, costs, expenses, charges, and disbursements
                              of the DIP Secured Parties (including the reasonable and documented fees

2
 Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the First Day
Declaration, this motion, the DIP Loan Agreement, or in the Interim Order, each as defined herein, as applicable.
3
    The Debtors will file the form of final order prior to the Final Hearing (as defined herein).


                                                              2
20826820.1
Case 20-50133-grs    Doc 55     Filed 02/06/20 Entered 02/06/20 07:04:35              Desc Main
                                Document     Page 3 of 33


                    and expenses of each of the DIP Secured Parties’ attorneys, advisors,
                    accountants and other consultants), any obligations in respect of indemnity
                    claims, whether contingent or absolute, including, without limitation, any
                    and all obligations in connection with any interest rate, currency swap, or
                    other hedging agreement or arrangement, in each case, to the extent
                    constituting obligations of any kind under the DIP Loan Documents (such
                    obligations, the “DIP Obligations”);

             (d)    authorizing the Debtors, immediately upon entry of the Interim Order, to
                    use proceeds of the Initial DIP Loan as expressly provided in the DIP Loan
                    Documents and solely in accordance with the Interim Order and the
                    applicable Approved Budget (as defined in the Interim Order) (subject to
                    permitted variances and other exclusions set forth in the DIP Loan
                    Documents) to: (A) pay costs, premiums, fees, and expenses related to the
                    above-captioned cases (collectively, the “Cases”) and in connection with
                    the DIP Facility, including the fees, costs and expenses associated with the
                    negotiation, execution and performance of the DIP Facility; and (B) provide
                    financing for working capital and for other general corporate purposes of
                    the Debtors, in each case in accordance with the Approved Budget (subject
                    to permitted variances and other exclusions set forth in the DIP Loan
                    Documents);

             (e)    authorizing the grant and approval of superpriority administrative expense
                    claim status, pursuant to sections 364(c)(1), 503(b)(1), and 507(b) of the
                    Bankruptcy Code, to the DIP Agent, for the benefit of itself and the other
                    DIP Secured Parties, in respect of all DIP Obligations, subject only to the
                    Carve-Out (as defined in the Interim Order);

             (f)    granting the DIP Secured Parties valid, enforceable, non-avoidable,
                    automatically and fully perfected DIP Liens (as defined in the Interim
                    Order) in all DIP Collateral (as defined in the Interim Order), including,
                    without limitation, all property constituting Prepetition Collateral (as
                    defined in the Interim Order), including, without limitation, any Cash
                    Collateral (as that term is defined in section 363(a) of the Bankruptcy Code
                    and defined in the Interim Order), to secure the DIP Obligations, which DIP
                    Liens shall be subject to the relative rankings and priorities set forth in the
                    Interim Order;

             (g)    authorizing the Debtors to use, among other things, solely in accordance
                    with the Approved Budget (subject to permitted variances and other
                    exclusions set forth in the DIP Loan Documents) and the limitations
                    provided in the Interim Order, any Cash Collateral in which any of the
                    Prepetition Secured Parties (as defined in the Interim Order) may have an
                    interest, and the granting of adequate protection solely to the extent of any
                    postpetition diminution in the value of the Prepetition Secured Parties'
                    respective interests in the Prepetition Collateral, including without
                    limitation, the Cash Collateral, as a result of (i) the incurrence of the DIP

                                              3
20826820.1
Case 20-50133-grs      Doc 55     Filed 02/06/20 Entered 02/06/20 07:04:35              Desc Main
                                  Document     Page 4 of 33


                      Obligations, (ii) the Debtors’ use of Cash Collateral as set forth in the
                      Interim Order, (iii) the subordination of the Prepetition Obligations to the
                      Carve-Out, (iv) any other diminution in value of the Prepetition Collateral
                      arising from the Debtors’ use, sale, or disposition of such Prepetition
                      Collateral or the proceeds thereof, (v) the priming of the Prepetition Liens
                      to the extent set forth in the Interim Order, and (vi) the imposition of the
                      automatic stay pursuant to section 362 of the Bankruptcy Code
                      (collectively, “Diminution in Value”);

              (h)     modifying the automatic stay imposed by section 362 of the Bankruptcy
                      Code to the extent necessary to implement and effectuate the terms and
                      provisions of the Interim Order and the other DIP Loan Documents to the
                      extent set forth in the Interim Order;

              (i)     subject to entry of a final order granting the relief requested in the Motion
                      on a final basis (the “Final Order”), waiving the Debtors’ ability to
                      surcharge, pursuant to section 506(c) of the Bankruptcy Code, against any
                      DIP Collateral and the Prepetition Collateral, and any right of the Debtors
                      under the “equities of the case” exception in section 552(b) of the
                      Bankruptcy Code;

              (j)     waiving any applicable stay (including under Bankruptcy Rule 6004) and
                      providing for immediate effectiveness of the Interim Order;

              (k)     scheduling a final hearing on the Motion (the “Final Hearing”) to consider
                      entry of the Final Order granting the relief requested in the Motion on a final
                      basis, and approving the form of notice with respect to the Final Hearing;
                      and

              (l)     granting related relief.

         2.   In support of this Motion, the Debtors submit the declaration of Richard Morgner,

the Managing Director and Joint Global Head of the Debt Advisory & Restructuring Group at

Jefferies LLC, the Debtors’ proposed investment banker, attached hereto as Exhibit B (the

“Morgner Declaration”), and the First Day Declaration (as defined below).

                                JURISDICTION AND VENUE

         3.   This Court has jurisdiction over these Cases under 28 U.S.C. §§ 157 and 1334, and

pursuant to L.R. 83.12 of the Joint Local Rules of Civil Practice for the United States District




                                                 4
20826820.1
Case 20-50133-grs       Doc 55    Filed 02/06/20 Entered 02/06/20 07:04:35             Desc Main
                                  Document     Page 5 of 33


Courts for the Eastern and Western Districts of Kentucky.         This matter constitutes a core

proceeding under 28 U.S.C. § 157(b)(2)(A).

         4.    Debtors GenCanna and GenCanna Global, Inc. have maintained their principal

places of business in Winchester, Clark County, Kentucky during the 180-day period immediately

preceding the Order for Relief Date (as defined below). Debtor Hemp Kentucky LLC maintained

its principal place of business in Lexington, Fayette County, Kentucky during that same period as

well. Accordingly, venue for the Debtors’ Cases is proper in this District under 28 U.S.C. §§ 1408

and 1409.

                                        BACKGROUND

                                      General Background

         5.    On January 24, 2020, Pinnacle, Inc., Crawford Sales, Inc., and Integrity /

Architecture, PLLC filed an involuntary chapter 11 petition under title 11 of the United States

Code (the “Bankruptcy Code”) against GenCanna Global USA, Inc. On February 5, 2020, the

Debtors GenCanna Global, Inc. and Hemp Kentucky LLC filed voluntary chapter 11 petitions for

relief under the Bankruptcy Code. On February 6, 2020 (the “Order for Relief Date”), GenCanna

Global USA, Inc. consented to the involuntary petition. As a result of these petitions, the Debtors

consented to, or commenced, the current chapter 11 Cases. The Debtors are seeking to have the

Cases jointly administered for procedural purposes only.

         6.    The Debtors are continuing to operate their business and manage their affairs as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

         7.    No official committee of unsecured creditors has been appointed in these Cases as

of the date hereof.

         8.    The Debtors have filed various customary first day motions (the “First Day

Motions”) seeking emergency relief to facilitate an efficient transition of their operations into

                                                5
20826820.1
Case 20-50133-grs            Doc 55      Filed 02/06/20 Entered 02/06/20 07:04:35                       Desc Main
                                         Document     Page 6 of 33


chapter 11 and to minimize disruption. In support of these Cases and the relief requested in the

First Day Motions, the Debtors have filed the Declaration of James Alt in Support of Chapter 11

Filings and First Day Motions (the “First Day Declaration”). The First Day Declaration contains

a detailed description of the Debtors’ business operations, capital structure, and events leading to

the filing of these Cases, and is incorporated herein by reference.

        Concise Statement Pursuant to Bankruptcy Rule 4001(b) and Local Rule 4001-24

          9.      The below chart contains a summary of the material terms of the proposed DIP

Loan Agreement, together with references to the applicable sections of the relevant source

documents, as required by Bankruptcy Rules 4001(b)(l)(B) and 4001(c)(l)(B) and Local Rule

4001-2.

    Bankruptcy Code         Summary of Material Terms
    Borrower                GenCanna Global USA, Inc., as a debtor and debtor in possession under Chapter 11 of
    Bankruptcy Rule         the Bankruptcy Code.
    4001(c)(1)(B)
                            See DIP Loan Agreement: Intro.

    Guarantors              GenCanna Global, Inc., as a debtor and debtor in possession under Chapter 11 of the
    Bankruptcy Rule         Bankruptcy Code, and each of the direct and indirect wholly-owned subsidiaries of the
    400l(c)(l)(B)           Borrower.

                            See DIP Loan Agreement: Intro.

    Agent                   MGG Investment Group LP.
    Bankruptcy Rule 4001
    (c)(1)(B)               See DIP Loan Agreement, Intro.

    DIP Lenders             MGG Investment Group LP (“MGG”) or one or more affiliates of MGG and/or other
    Bankruptcy Rule         financial institutions, lenders or investment vehicles from time to time party to the DIP
    4001(c)(l)(B)           Loan Agreement.

                            See DIP Loan Agreement, Intro. and Schedule 1(a)

    Reporting               The DIP Loan Agreement includes standard and customary conditions that require the
    Information             Borrower to provide periodic reports to the DIP Agent and the DIP Lenders and their
    Bankruptcy Rule         respective professionals regarding the approved budget, the status of these Cases, and
    4001(c)(1)(B)           certain other matters. The failure of the Borrower to comply with such reporting

4
 The summaries contained in this Motion are qualified in their entirety by the provisions of the documents referenced.
To the extent anything in this motion is inconsistent with such documents, the terms of the applicable DIP Loan
Documents shall control. Capitalized terms used in the following summary chart but not otherwise defined have the
meanings ascribed to them in the DIP Loan Documents.


                                                          6
20826820.1
Case 20-50133-grs      Doc 55       Filed 02/06/20 Entered 02/06/20 07:04:35                        Desc Main
                                    Document     Page 7 of 33


 Bankruptcy Code       Summary of Material Terms
                       obligations will cause an Event of Default that may permit the DIP Agent to exercise
                       remedies against the Borrower, including, without limitation, terminating the DIP
                       Facility.

                       See DIP Loan Agreement: § 13 and § 16; Schedule 13.

 Term                  The earliest to occur of: (i) 120 days from the Closing Date, (ii) the date that is 30 days
 Bankruptcy Rule       following the date of entry of the Interim Order if the Final Order has not been entered
 4001(b)(l)(B)(iii),   by the Bankruptcy Court on or prior to such date, (iii) the consummation of a sale of all
 4001(c)(l)(B)         or substantially all of the Loan Parties' assets, (iv) the substantial consummation of a
                       plan of reorganization filed in the Chapter 11 Cases that is confirmed pursuant to an
                       order of the Bankruptcy Court, (v) the filing of a motion by any of the Loan Parties
                       seeking dismissal of any of the Chapter 11 Cases, (vi) the dismissal of any of the Chapter
                       11 Cases, (vii) the filing of a motion by any of the Loan Parties seeking to convert any
                       of the Chapter 11 Cases to a case under Chapter 7 of the Bankruptcy Code, (viii) the
                       conversion of the Chapter 11 Cases to a case under Chapter 7 of the Bankruptcy Code,
                       (ix) the date on which the Term Loans are accelerated pursuant to Section 16 of the DIP
                       Loan Agreement or (x) any other event set forth in the Financing Orders and/or the other
                       DIP Loan Documents as triggering a Maturity Date.

                       See DIP Loan Agreement: § 18 (def’n of Maturity Date).

 Commitment            Commitment. A multi-draw term loan facility in an aggregate principal amount of
 Bankruptcy Rule       $10,000,000.
 4001(c)(l)(B)
                       Initial Commitment. $2,750,000

                       See DIP Loan Agreement: § 1.

 Conditions of         The DIP Loan Agreement includes conditions to closing that are customary and
 Borrowing             appropriate for similar debtor-in-possession financings of this type.
 Bankruptcy Rule
 4001(c)(l)(B)         See DIP Loan Agreement: § 2.

 Interest Rate         A floating rate of LIBOR + 10.00%
 Bankruptcy Rule
 4001(c)(l)(B)         See DIP Loan Agreement: § 4.

 Use of Proceeds       The DIP Facility will be used to (i) fund general corporate needs, including without
 Bankruptcy Rule       limitation working capital and other needs, and (ii) pay administrative expenses of the
 4001(b)(l)(B)(ii)     Cases, including fees and expenses of professionals, in each case in accordance with the
                       Budget, the Financing Orders and/or the other DIP Loan Documents, and the
                       Bankruptcy Code.

                       See DIP Loan Agreement: § 1(d).

 Adequate Protection   The Adequate Protection provisions are ordinary and customary for debtor-in-
 Bankruptcy Rules      possession financings of this type by the Borrower and each Guarantor in favor of the
 4001(b)(l)(B)(iv),    DIP Agent and each of the DIP Lenders, subject to customary carve-outs.
 4001(c)(l)(B)(ii)
                       See Interim Order, ¶ 3.

 Budget                The DIP Agent shall have received a rolling thirteen (13) week forecast of projected
                       receipts, disbursements, net cash flow, liquidity, loans and availability for the


                                                     7
20826820.1
Case 20-50133-grs          Doc 55      Filed 02/06/20 Entered 02/06/20 07:04:35                        Desc Main
                                       Document     Page 8 of 33


 Bankruptcy Code           Summary of Material Terms
 Bankruptcy Rule 4001      immediately following consecutive 13 weeks after the date of delivery, which shall be
 (c)(l )(B)                in substantially the form of the Initial Budget or otherwise in form and substance
                           acceptable to the DIP Agent in its sole discretion and shall be approved by the DIP Agent
                           in its sole discretion.

                           See DIP Loan Agreement: § 18 (def’n of Budget).

 Variance Covenant         The Permitted Variance means (a) a variance of up to 10% between the actual
 Bankruptcy Rule           disbursements for the applicable 2, 3 or 4 week period and the “Total Operating
 4001(c)(l)(B)             Disbursements” line item as set forth in the Budget for the applicable 2, 3 or 4 week
                           period (other than professional fees) and/or (b) a negative variance of up to 10% between
                           the actual receipts for the applicable 2, 3 or 4 week period and the “Cash Receipts” line
                           item as set forth in the Budget for the applicable 2, 3 or 4 week period.

                           See DIP Loan Agreement: § 18 (def’n of Permitted Variance).

 Events of Default         The DIP Loan Agreement contains Events of Default that are usual and customary for
 Bankruptcy Rule           debtor-in-possession financings of this type.
 4001(c)(l)(B)
                           See DIP Loan Agreement, § 16.

 Indemnification           The DIP Loan Agreement contains indemnification provisions ordinary and customary
 Bankruptcy Rule           for debtor-in-possession financing of this type by the Borrower and each Guarantor in
 4001(c)(l )(B)(ix)        favor of the DIP Agent and each DIP Lender, and each of their respective affiliates and
                           each of their and their affiliates’ respective officers, directors, employees, attorneys,
                           agents and representatives, each of them subject to customary carve-outs.

                           See DIP Loan Agreement: § 9.

 Entities with Interests   The following secured parties have an interest in Cash Collateral: the DIP Lenders and
 in Cash Collateral        the Prepetition Secured Parties.
 Bankruptcy Rule
 4001(b)(l)(B)(i)          See Interim Order: ¶¶ E & F.

 Carve Out                 The Interim Order provides a Carve Out of certain statutory fees, allowed professional
 Bankruptcy Rule           fees of the Debtors, and official committee of unsecured creditors appointed under
 400l(c)(l)(B)             section 1102 of the Bankruptcy Code appointed in the Cases pursuant to section 1103
                           of the Bankruptcy Code, including a post Carve Out Trigger Notice Cap, all as detailed
                           in the Interim Order.

                           See Interim Order: ¶ 4.12.

 Fees                      Initial Loan Facility Fee in the amount of $55,000, which fee shall be payable to the DIP
 Bankruptcy Rule           Agent on the date of funding the Initial Loan and fully-earned upon the entry of the
 4001(c)(l)(B)             Interim Order and non-refundable once paid.

                           Additional Loan Facility Fee in the amount of $145,000, which fee shall be payable to
                           the DIP Agent on the date of funding the first Additional Loan after the entry of the
                           Final Order and fully-earned upon the entry of the Final Order and non-refundable once
                           paid.

                           Administration Fee in the amount of $50,000, which fee shall be payable to the DIP
                           Agent on or prior to the date of funding of the Initial Loan and fully-earned upon the
                           entry of the Interim Order and non-refundable once paid.


                                                          8
20826820.1
Case 20-50133-grs        Doc 55       Filed 02/06/20 Entered 02/06/20 07:04:35                            Desc Main
                                      Document     Page 9 of 33


 Bankruptcy Code         Summary of Material Terms

                         See DIP Loan Agreement: § 8.

 506(c) Waiver           Section 506(c) Waiver. No costs or expenses of administration which have been or may
 Bankruptcy Rule         be incurred in these Cases at any time (including, without limitation, any costs and
 4001(c)(l)(B)(x)        expenses incurred in connection with the preservation, protection, or enhancement of
                         value by the DIP Agent or the DIP Lenders upon the DIP Collateral or by the Prepetition
                         Secured Parties upon the Prepetition Collateral, as applicable) shall be charged against
 Section 552(b)          the DIP Agent, DIP Lenders, or Prepetition Secured Parties, or any of the DIP
 Bankruptcy Rule         Obligations or Prepetition Obligations or the DIP Collateral or the Prepetition Collateral
 4001(c)(l)(B)           pursuant to sections 105 or 506(c) of the Bankruptcy Code or otherwise without the prior
                         express written consent of the affected DIP Secured Parties and/or affected Prepetition
                         Secured Parties, in their respective sole discretion, and no such consent shall be implied,
                         directly or indirectly, from any other action, inaction, or acquiescence by any such
                         agents or creditors (including, without limitation, consent to the Carve-Out or the
                         approval of any budget hereunder). Notwithstanding the foregoing, the waiver provided
                         in Section Error! Reference source not found. of the Interim Order is subject to the
                         entry of a Final Order providing such relief.

                         Section 552(b) Waiver. The Debtors have agreed as a condition to obtaining financing
                         under the DIP Facility and using Cash Collateral that, subject to entry of the Final Order,
                         the Prepetition Secured Parties are and shall each be entitled to all of the rights and
                         benefits of section 552(b) of the Bankruptcy Code and that the “equities of the case”
                         exception under section 552(b) shall not apply to the DIP Agent, the DIP Lenders, the
                         DIP Obligations, and, subject to entry of the Final Order, the Prepetition Secured Parties
                         or the Prepetition Obligations.

                         See Interim Order: ¶¶ 4.26-4.27.

 Stipulations to         After consultation with their attorneys and financial advisors, and without prejudice to
 Prepetition Liens and   the rights of parties-in-interest, the Debtors, on their behalf and on behalf of their estates,
 Claims                  admit, stipulate, acknowledge, and agree immediately as of the Order for Relief Date,
 Bankruptcy Rule         to certain stipulations regarding the validity and extent of the Prepetition Secured
 4001(c)(1)(B)(iii)      Parties’ claims and liens.

                         See Interim Order: ¶ E.

 Liens and Priorities    Priority of Obligations and DIP Lenders’ Liens.
 Bankruptcy Rule
 4001(c)(l)(B)(i)        (a) To secure all of the Borrower's Obligations now existing or hereafter arising, the
                         Agent, for the benefit of itself and the DIP Lenders, is granted, effective as of the Order
                         for Relief Date: (i) subject to the Carve-Out, an allowed super-priority administrative
                         expense claim against each of the Borrower and Guarantors (jointly and severally)
                         pursuant to Section 364(c)(1) of the Bankruptcy Code, and except as set forth in the
                         Financing Orders, having a priority over any and all other claims and costs and expenses
                         of administration of any kind whatsoever, whether now existing or hereafter arising,
                         including, without limitation, those specified in, ordered pursuant to or arising under,
                         inter alia, sections 105, 326, 328, 330, 331, 363, 364, 503, 506, 507, 546, 726, 1113 or
                         1114 or any other provision of the Bankruptcy Code or otherwise (whether incurred in
                         these Chapter 11 Cases and any Successor Case), whether or not such expenses or claims
                         may become secured by a judgment lien or other non-consensual lien, levy, or
                         attachment, which allowed superpriority administrative claim (x) shall at all times be
                         senior to the rights of the Debtors, any successor trustee or estate representative, or any
                         other creditor or party in interest in the Chapter 11 Cases or any Successor Case, (y)
                         shall be, for purposes of section 1129(a)(9)(A) of the Bankruptcy Code, considered an

                                                         9
20826820.1
Case 20-50133-grs        Doc 55       Filed 02/06/20 Entered 02/06/20 07:04:35                            Desc Main
                                     Document      Page 10 of 33


 Bankruptcy Code         Summary of Material Terms
                         administrative expense allowed under section 503(b) of the Bankruptcy Code, and (z)
                         shall be payable from and have recourse to all prepetition and postpetition property,
                         whether existing as of the Order for Relief Date or thereafter acquired, of the Debtors
                         and all proceeds thereof (including, subject to entry of the Final Order, proceeds of
                         Avoidance Actions (as defined in the Financing Orders)); and (ii) (x) pursuant to
                         Sections 364(c)(2) of the Bankruptcy Code, Liens on, and security interests in, the
                         Collateral, that are first and senior in priority to all other Liens on, and security interests
                         in, the Collateral that was not encumbered by a valid, enforceable, properly perfected
                         and non-avoidable Lien as of the Order for Relief Date, subject only to the Carve-Out,
                         and (y) pursuant to sections 364(c)(3) and 364(d) of the Bankruptcy Code, priming Liens
                         on, and security interests in, all other Collateral, subject only to the Carve-Out and
                         Permitted Prior Liens. Except as set forth in the Financing Orders, the security interests
                         and Liens granted to the Agent hereunder shall not be (i) subject to any Lien or security
                         interest which is avoided and preserved for the benefit of the Loan Parties' estate under
                         Section 551 of the Bankruptcy Code, or (ii), subordinated to or made pari passu with
                         any other Lien or security interest under Section 364(d) of the Bankruptcy Code or
                         otherwise.

                         (b) The priority of the Agent's Liens on the Collateral shall be as set forth in the
                         Financing Orders.

                         (c) Notwithstanding anything to the contrary in the DIP Loan Agreement (i) all proceeds
                         received by the Agent and the DIP Lenders from the Collateral subject to the Liens
                         granted in Section 11 of the DIP Loan Agreement and in each other DIP Document,
                         including the Financing Orders shall be subject to the Carve-Out, and (ii) no Person
                         entitled to the Carve-Out shall be entitled to sell, or otherwise dispose, or seek or object
                         to the sale or other disposition of, any Collateral.

                         (d) Each of the Loan Parties agrees for itself that the Obligations of such Person shall
                         constitute allowed administrative expenses in the Chapter 11 Cases, having priority over
                         all administrative expenses of and unsecured claims against such Person now existing
                         or hereafter arising, of any kind or nature whatsoever, including, without limitation, all
                         administrative expenses of the kind specified in, or arising or ordered under,
                         Sections 105, 326, 328, 330, 331, 363, 364, 365, 503, 506, 507, 546, 726, 1113 and/or
                         1114 of the Bankruptcy Code, except as set forth in the Financing Orders.

                         (e) The Agent's Liens on the Collateral and the super-priority administrative claim under
                         Section 364(c) of the Bankruptcy Code afforded the Obligations and the Guaranteed
                         Obligations shall, following the occurrence and during the continuation of an Event of
                         Default, be subject to the Carve-Out, in accordance with the Financing Orders.

                         See DIP Loan Agreement: § 11.

 Milestones              The Borrower shall comply with the following milestones in connection with the Cases:
 Bankruptcy Rule 400 l
 (c)(l)(B)               (1)     no later than 2 Business Days after the Order for Relief Date, the Interim Order
                         approving the Note shall be entered by the Bankruptcy Court;

                         (2)     no later than 30 days after the entry of the Interim Order, the Final Order
                         approving this Note and the financing contemplated hereby shall be entered by the
                         Bankruptcy Court;

                         (3)      no later than February 18, 2020, the Loan Parties shall file one or more motions
                         (together with all exhibits, annexes and related documents, the "Sale Motion"), in form


                                                        10
20826820.1
Case 20-50133-grs       Doc 55       Filed 02/06/20 Entered 02/06/20 07:04:35                         Desc Main
                                    Document      Page 11 of 33


 Bankruptcy Code        Summary of Material Terms
                        and substance reasonably acceptable to the Agent, which Sale Motion shall be in form
                        and substance acceptable to the Agent in its sole discretion, seeking entry of orders (x)
                        establishing bidding procedures (the "Bid Procedures") for the sale(s) of all or
                        substantially all of the Loan Parties' assets (such order, together with all exhibits,
                        annexes and related documents, the "Bid Procedures Order"), which Bid Procedures
                        Order shall be in form and substance acceptable to the Agent in its sole discretion, and
                        (y) approving the sale(s) of all or substantially all the assets of the Loan Parties (any
                        such order, together with all exhibits, annexes and related documents, the "Sale Order"),
                        which Sale Order shall be in form and substance acceptable to the Agent in its sole
                        discretion;

                        (4)      no later than February 24, 2020, the Loan Parties shall have received one or
                        more letters of intent from potential bidders, each in form and substance acceptable to
                        the Agent in its sole discretion;

                        (5)     no later than March 11, 2020, the hearing on the Sale Motion as it relates to the
                        approval of the Bid Procedures and entry of the Bid Procedures Order shall be held;

                        (6)     no later than March 13, 2020, the Loan Parties shall obtain entry of the Bid
                        Procedures Order in form and substance acceptable to the Agent in its sole discretion;

                        (7)      no later than April 17, 2020, the Loan Parties shall have received one or more
                        Qualified Bid(s) (as defined in the Bid Procedures), each in form and substance
                        acceptable to the Agent in its sole discretion;

                        (8)       to the extent required under the Bid Procedures Order and more than one
                        Qualified Bid is received by the Bid Deadline (as defined in the Bid Procedures), not
                        later than April 20, 2020, the Loan Parties shall commence an auction in accordance
                        with the Bid Procedures Order, and after consultation with and approval by the Agent ,
                        select the successful bid(s);

                        (9)      no later than April 23, 2020, the hearing on the Sale Motion as it relates to the
                        approval of the sale(s) of all or substantially all of the Loan Parties' assets and entry of
                        the Sale Order shall be held;

                        (10)      no later than April 24, 2020, the Bankruptcy Court shall have entered Sale
                        Order, in form and substance acceptable to the Agent in its sole discretion, which Sale
                        Order, among other things, (x) authorizes the sale(s) of the Loan Parties' assets free and
                        clear of all liens, claims and interests (other than those expressly preserved in the Sale
                        Order) and (y) contains the "good faith" protections pursuant to Bankruptcy Code
                        section 363(m) (the "Approved Sale(s)"); and

                        (11)     no later than May 1, 2020, the Approved Sale(s) shall have been consummated
                        and all proceeds of such sales applied in accordance with the Financing Orders.

                        See DIP Loan Agreement: § 14.

 Challenge Period       Challenge Period. (x) by the Creditors’ Committee (if appointed) within 60 calendar
 Bankruptcy Rule 4001   days after the date of the appointment of such Creditors' Committee and (y) if no
 (c)(l)(B)              Creditors’ Committee has been appointed, by any party in interest with requisite
                        standing within 75 calendar days after entry of the Interim Order.

                        See Interim Order, ¶ 4.14.




                                                      11
20826820.1
Case 20-50133-grs        Doc 55       Filed 02/06/20 Entered 02/06/20 07:04:35                       Desc Main
                                     Document      Page 12 of 33


 Bankruptcy Code         Summary of Material Terms
 Waiver/Modification     The automatic stay provisions of section 362 of the Bankruptcy Code and any other
 of the Automatic Stay   restriction imposed by an order of the Court or applicable law would be modified to the
 Bankruptcy Rule         extent necessary to permit each of the DIP Agent or the Prepetition Agent, as applicable,
 4001(c)(1)(B)(iv)       to enforce all of their rights under the applicable DIP Loan Documents, including,
                         without limitation, declaring an Event of Default, terminating any further DIP
                         Commitment, declaring all DIP Obligations immediately due and owing, terminating
                         the applicable DIP Loan Documents, and/or terminating the use of Cash Collateral.

                         See Interim Order: ¶ 4.7.


                           The Debtors’ Prepetition Capital Structure

The MGG Facility

         10.   The Company is a borrower under that certain Financing Agreement dated as of

June 24, 2019 (as amended from time to time, the “Prepetition Credit Agreement”) with the lenders

party thereto (the “Prepetition Lenders”) and MGG Investment Group LP (“MGG”) as collateral

agent and administrative agent. The Prepetition Credit Agreement was amended by that certain

First Amendment to Financing Agreement dated as of August 2, 2019, that certain Second

Amendment to Financing Agreement dated as of August 22, 2019, and that certain Third

Amendment and Waiver to Financing Agreement dated as of November 6, 2019.

         11.   Pursuant to the Prepetition Credit Agreement and related loan documents (the

“Loan Documents”), the Prepetition Lenders provided a $75 million credit facility (the

“Prepetition Credit Facility”), which is comprised of a term loan in the aggregate principal amount

of $40 million, and availability for delayed draw term loans in an aggregate principal amount not

to exceed $35 million. As of January 31, 2020, the total outstanding principal balance due under

the Prepetition Credit Facility was approximately $69 million.

         12.   The Company’s obligations under the Prepetition Credit Facility (the “Prepetition

Obligations”) are guaranteed by GenCanna Parent pursuant to the provisions of the Prepetition

Credit Agreement, and are secured by a first priority security interest in and liens on substantially



                                                      12
20826820.1
Case 20-50133-grs      Doc 55     Filed 02/06/20 Entered 02/06/20 07:04:35          Desc Main
                                 Document      Page 13 of 33


all of the assets of the Company and GenCanna Parent (the “Prepetition Collateral”) pursuant to,

among other things, that certain Pledge and Security Agreement dated as of June 24, 2019.

Mortgage Loans

         13.   The Debtors own certain real property encumbered by mortgage loans in favor of

various mortgage lenders. In particular, the Company owns a greenhouse located at 1895

Clintonville Road in Paris, Kentucky (the “Paris Greenhouse”) that is secured by a mortgage in

favor of Kentucky Bank. The approximate outstanding principal balance of the mortgage loan in

respect of the Paris Greenhouse is approximately $1.8 million.

         14.   The Company also owns a retail location at 16 W Lexington Avenue in Winchester,

Kentucky (the “Winchester Property”) that is secured by a mortgage in favor of Central Bank &

Trust Co. The approximate outstanding principal balance of the mortgage loan in respect of the

Winchester Property is approximately $270,000.

         15.   The Company also owns a warehouse located in Paducah, Kentucky (the “Paducah

Property”) that is secured by a mortgage in favor of Community Financial Services Bank

(“CFSB”). The approximate outstanding principal balance of the mortgage loan in respect of the

Paducah Property is approximately $1.6 million.

Mechanic’s Liens

         16.   The Company leases certain property in Mayfield, Kentucky on which the

Company is constructing a hemp processing facility for its CBD products (the “Mayfield

Facility”). A number of creditors have asserted mechanic’s liens against the Mayfield Facility.

To date, approximately between $20 million and $25 million of mechanic’s lien claims have been

asserted in respect of the Mayfield Facility, with other claims being asserted in undetermined




                                               13
20826820.1
Case 20-50133-grs       Doc 55     Filed 02/06/20 Entered 02/06/20 07:04:35           Desc Main
                                  Document      Page 14 of 33


amounts. The Debtors are evaluating, and in appropriate cases, disputing and defending against,

such claims. The Debtors make no admission with respect to such claims and reserve all rights.

Letter of Credit in Favor of Southerland’s Greenhouses, Inc.

         17.   In connection with the Company’s acquisition of the Paris Greenhouse property,

the Company obtained the mortgage loan from Kentucky Bank described above, and paid the

remainder of the purchase price in cash. However, the Company was also obligated to pay the

seller an additional amount depending upon the seller’s tax obligations resulting from the

transaction. The seller was issued an Irrevocable Letter of Credit in the amount of $1 million by

CFSB on March 22, 2019 (the “LOC”), in respect of such obligations. The Company’s obligations

to reimburse CFSB for draws made under the LOC are secured by $1 million in cash being held

in a controlled deposit account at CFSB.

Capital Leases, Equipment and Vehicle Obligations

         18.   The Company is party to a number of equipment and capital leases for various

pieces of equipment, machinery and other personal property. The lessors in respect of such

obligations assert claims secured by the property covered by such agreements. The Debtors make

no admission as to whether such leases are true leases or not, and as to any other aspect of such

asserted secured claims. All rights are reserved in that regard.

         19.   The Company is also party to a certain Harvesting Services Agreement with Arrow

Farms, LLC, pursuant to which the counterparty purchased farm equipment on behalf of the

Debtors and who are believed to either assert an ownership interest in such property or a security

interest in such property. The Debtors make no admissions and reserve all rights.

Obligations Purportedly Secured by Harvest Inventory




                                                14
20826820.1
Case 20-50133-grs        Doc 55      Filed 02/06/20 Entered 02/06/20 07:04:35               Desc Main
                                    Document      Page 15 of 33


         20.    Certain creditors are owed obligations by the Company in respect of debenture

agreements and redemption agreements that are purported to be secured by the Debtors’ harvest

inventory. The Debtors make no admissions and reserve all rights.

                                          The DIP Facility

I.       The Debtors’ Need for Access to Financing and Use of Cash Collateral.

         21.    As described in the Morgner Declaration and the First Day Declaration, the Debtors

require immediate access to liquidity to continue operating during these Cases and to preserve the

value of their estates for the benefit of all stakeholders. In the months prior to the chapter 11 filing,

the Debtors have been forced to delay payments and stretch payment terms for many of their

vendors to retain sufficient liquidity to operate their businesses. Without a cash infusion at this

critical point, the Debtors will be unable to meet their commitments to vendors that provide

necessary goods and services, and will suffer irreparable harm to their businesses. The DIP

Facility provides the necessary cash to meet immediate operational needs, addresses significant

vendor unease, and provides the liquidity for a smooth transition into chapter 11.

         22.    Since the retention of Jefferies LLC (“Jefferies”), the Debtors and Jefferies have

worked to evaluate the Debtors’ operations, including determining potential liquidity needs for a

chapter 11 case. As part of that analysis, Jefferies, together with the Debtors’ other professionals,

analyzed the Debtors’ liquidity forecasts and liquidity position. This analysis was based upon the

Debtors’ business plan, overlaid with the estimated impact of the commencement of these Cases.

         23.    In addition, Jefferies, the Debtors, and the Debtors’ other professionals also

considered the incremental administrative costs of a complex chapter 11 filing with a large number

of stakeholders, including prepetition lenders, business entities, employees, and governmental

entities, each of whom will likely be represented by counsel.



                                                   15
20826820.1
Case 20-50133-grs        Doc 55    Filed 02/06/20 Entered 02/06/20 07:04:35             Desc Main
                                  Document      Page 16 of 33


         24.   Based on these considerations, the Debtors and their advisors determined that

smooth postpetition operations would require initial liquidity of approximately $10 million. The

Debtors believe the proposed DIP Facility will allow them to operate their businesses and satisfy

all administrative costs and expenses associated with these Cases as they come due.

         25.   Without the cash and stability provided by the DIP Facility, irreparable harm would

occur as a result of the Debtors’ inability to continue ordinary course operations, which would not

only impact revenue generation, but also risk losing the confidence of employees, vendors, and

customers.

II.      The Debtors’ Efforts to Secure Financing.

         26.   The proposal before the Court represents the best available source of postpetition

financing available to the Debtors. First, substantially all of the Debtors’ assets are encumbered

under their prepetition secured credit facilities.     Second, the Debtors’ depressed operating

performance limited the Debtors’ options for postpetition financing of the size necessary to fund

these Cases. Third, the Prepetition Secured Parties indicated that they would not consent to

“priming” debtor-in-possession financing provided by a third party. As such, the Debtors and their

advisors were forced to solicit postpetition financing proposals from third parties on a junior basis

or prepare for a priming fight on the first day of these Cases.

         A.    The Debtors’ Immediate Liquidity Needs.

         27.   The Debtors need an immediate capital infusion to operate their business

postpetition and to fund these Cases. As of the Order for Relief Date, the Debtors lack sufficient

funds to operate their enterprise and continue paying their debts as they come due. See Morgner

Decl. ¶¶ 9.

         28.   In light of the Debtors’ limited liquidity, the Debtors’ advisors assisted the Debtors

in evaluating potential financing alternatives for both an out-of-court restructuring and an in-court

                                                 16
20826820.1
Case 20-50133-grs       Doc 55      Filed 02/06/20 Entered 02/06/20 07:04:35           Desc Main
                                   Document      Page 17 of 33


process. Among other things, Jeffries worked closely with the Debtors, their management, and

other advisors to evaluate the Debtors’ cash requirements necessary to continue to operate their

business as a going concern. See Morgner Decl. ¶¶ 6-8. Based on this work, and after the Debtors

concluded that an out-of-court restructuring was not a viable option, the Debtors determined, in

consultation with their advisors, that procuring sufficient financing at the start of these Cases

would be essential to meet operational expenses and fund these Cases. See id. at ¶ 9. The proposed

DIP Facility is critical to the Debtors’ ability to administer these Cases, provide the Debtors with

sufficient liquidity to continue operations in the ordinary course, and pursue a reorganization of

their business for the benefit of their employees, vendors, customers, and other stakeholders. See

id. at ¶ 10.

         B.    The DIP Facility.

         29.   The Debtors engaged in arm’s-length negotiations with the DIP Lenders with

respect to funding these Cases. See Morgner Decl. ¶ 12. The parties exchanged numerous term

sheets and mark-ups, each with significant changes to the material terms of the proposals. See id.

Through these negotiations, the economic and other terms of the DIP Facility improved to the

benefit of the Debtors. See id. The DIP Facility includes various fees, milestones, and other

agreements, which were expressly required by the DIP Lender as a condition to provide the DIP

Facility and are an integral component of the financing package. See id. at ¶ 19. These fees and

other agreements were each subject to arm’s length negotiations. See id. Given the financial and

operating condition of the Debtors, the timing, cost, and risk of administering these Cases, these

fees and other agreements are appropriate under the circumstances. See id

         30.   While the parties focused on the ultimate DIP sizing, including the amount

necessary to avoid irreparable harm, the DIP Facility provides a framework within which the

Debtors can ultimately reorganize for the benefit of all of their stakeholders. See Morgner Decl. ¶

                                                17
20826820.1
Case 20-50133-grs        Doc 55     Filed 02/06/20 Entered 02/06/20 07:04:35             Desc Main
                                   Document      Page 18 of 33


17. The DIP Facility and is also expressly linked to certain case milestones. See Morgner Decl. ¶

19. These milestones provide a structure for the Debtors’ anticipated chapter 11 process, which

will benefit all stakeholders by continuing to drive parties towards a global and comprehensive

solution for the Debtors’ liabilities. See id. The milestones were negotiated by the DIP Lenders

as a condition to providing the DIP Facility and were a critical inducement for the DIP Lenders in

providing the Debtors with the cash necessary to operate their business and fund these cases. See

id. The Debtors engaged in good-faith negotiations with respect to these milestones and believe

the milestones provide them with adequate time to implement a value-maximizing restructuring.

See id.

          D.    The DIP Financing Is The Best Postpetition Financing Arrangement Available
                to the Debtors.

          31.   The proposed DIP financing maximizes the value of the enterprise by providing the

Debtors with access to significant and crucial liquidity at the outset of these Cases. It allows the

Debtors to maximize value by continuing operations with minimal disruption and provide new

money to adequately fund these Cases.

          32.   The terms of the DIP Facility are reasonable under the circumstances and were the

product of arm’s length negotiations, and that the DIP Facility will benefit all stakeholders in these

Cases. See Morgner Decl. ¶ 20.

                                          Basis for Relief

I.        The Debtors Should Be Authorized to Obtain Postpetition Financing Through the
          DIP Loan Documents.

          A.    Entry into the DIP Loan Documents Is an Exercise of the Debtors’ Sound
                Business Judgment.

          33.   The Court should authorize the Debtors, as an exercise of their sound business

judgment, to enter into the DIP Loan Documents, obtain access to the DIP Facility, and continue


                                                 18
20826820.1
Case 20-50133-grs         Doc 55     Filed 02/06/20 Entered 02/06/20 07:04:35            Desc Main
                                    Document      Page 19 of 33


using Cash Collateral. Section 364 of the Bankruptcy Code authorizes a debtor to obtain secured

or superpriority financing under certain circumstances discussed in detail below. Courts grant a

debtor-in-possession considerable deference in acting in accordance with its business judgment in

obtaining postpetition secured credit, so long as the agreement to obtain such credit does not run

afoul of the provisions of, and policies underlying, the Bankruptcy Code. See, e.g., In re Trans

World Airlines, Inc., 163 B.R. 964, 974 (Bankr. D. Del. 1994) (approving a postpetition loan and

receivables facility because such facility “reflect[ed] sound and prudent business judgment”); In

re L.A. Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011) (“[C]ourts will almost always defer

to the business judgment of a debtor in the selection of the lender.”); In re Ames Dep’t Stores, Inc.,

115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“[C]ases consistently reflect that the court’s discretion

under section 364 is to be utilized on grounds that permit reasonable business judgment to be

exercised so long as the financing agreement does not contain terms that leverage the bankruptcy

process and powers or its purpose is not so much to benefit the estate as it is to benefit a party in

interest.”).

         34.    Specifically, to determine whether the business judgment standard is met, a court

need only “examine whether a reasonable business person would make a similar decision under

similar circumstances.” In re Exide Techs., 340 B.R. 222, 239 (Bankr. D. Del. 2006); see also In

re Dwight’s Piano Co., 424 B.R. 260, 285 (S.D. Ohio 2009) (“The business-judgment-rule

presumption may be rebutted by showing that no reasonable business person could possibly

authorize the action in good faith . . .”).

         35.    Furthermore, in considering whether the terms of postpetition financing are fair and

reasonable, courts consider the terms in light of the relative circumstances of both the debtor and

the potential lender. See In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003)



                                                 19
20826820.1
Case 20-50133-grs       Doc 55     Filed 02/06/20 Entered 02/06/20 07:04:35             Desc Main
                                  Document      Page 20 of 33


(while many of the terms favored the DIP lenders, “taken in context, and considering the relative

circumstances of the parties,” the court found them to be reasonable); see also Unsecured

Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co. (In re Elingsen McLean Oil

Co., Inc.), 65 B.R. 358, 365 n.7 (W.D. Mich. 1986) (recognizing a debtor may have to enter into

“hard bargains” to acquire funds for its reorganization). The Court may also appropriately take

into consideration non-economic benefits to the Debtors offered by a proposed postpetition

financing facility. For example, in In re ION Media Networks, Inc., the bankruptcy court for the

Southern District of New York held that:

               Although all parties, including the Debtors and the Committee, are
               naturally motivated to obtain financing on the best possible terms, a
               business decision to obtain credit from a particular lender is almost
               never based purely on economic terms. Relevant features of the
               financing must be evaluated, including non economic elements
               such as the timing and certainty of closing, the impact on creditor
               constituencies and the likelihood of a successful reorganization.
               This is particularly true in a bankruptcy setting where cooperation
               and establishing alliances with creditor groups can be a vital part of
               building support for a restructuring that ultimately may lead to a
               confirmable reorganization plan. That which helps foster consensus
               may be preferable to a notionally better transaction that carries the
               risk of promoting unwanted conflict.

No. 09-13125, 2009 WL 2902568, at *4 (Bankr. S.D.N.Y. July 6, 2009) (emphasis added).

         36.   The Debtors’ determination to move forward with the DIP Facility is an exercise

of their sound business judgment following an arm’s-length process and careful evaluation of

available alternatives. Specifically, the Debtors and their advisors determined that the Debtors

would require significant postpetition financing to support their operational and chapter 11

activities. The DIP Facility will allow the Debtors to: (a) fund capital expenditures that are

essential to the Debtors’ continuation as a going concern, (b) provide the liquidity necessary to

continue favorable trade terms with vendors and to reassure other stakeholders, (c) fund payroll

obligations, and (d) fund the administrative cost of these Cases. The Debtors negotiated the DIP

                                                20
20826820.1
Case 20-50133-grs       Doc 55     Filed 02/06/20 Entered 02/06/20 07:04:35            Desc Main
                                  Document      Page 21 of 33


Loan Agreement and other DIP Loan Documents with the DIP Lenders in good faith, at arm’s-

length, and with the assistance of their respective advisors, and the Debtors believe that they have

obtained the best financing available under the circumstances. Accordingly, the Court should

authorize the Debtors’ entry into the DIP Loan Documents, as it is a reasonable exercise of the

Debtors’ business judgment.

         B.    The Debtors Should Be Authorized to Grant Liens and Superpriority Claims.

         37.   The Debtors propose to obtain financing under the DIP Loan Agreement by

providing security interests and liens as set forth in the DIP Loan Documents pursuant to section

364(c) of the Bankruptcy Code. Specifically, the Debtors propose to provide to the DIP Lenders

postpetition security interest in and liens on the DIP Collateral (as defined in the Interim Order)

and Prepetition Collateral that are valid, perfected, allowed, enforceable, non-avoidable, and not

subject to challenge, dispute or subordination immediately upon entry of the Interim Order.

         38.   The above-described liens on encumbered and unencumbered assets are common

features of postpetition financing facilities, and as set forth in greater detail in the Morgner

Declaration, were a necessary feature here to provide security for the proposed financings. Indeed,

postpetition financing facilities routinely are secured by the proceeds of a debtor’s unencumbered

assets such as leaseholds that are subject to leases that prohibit the impositions of liens thereon.

See, e.g., Blackhawk Mining, LLC, No. 19-11595 (Bankr. D. Del. July 19, 2019) (approving DIP

liens on collateral including any leasehold interests or the proceeds thereof as permitted by

applicable law); In re Vanguard Natural Resources, Inc., No 19-31786 (DRJ) (Bankr. S.D. Tex.

April 30, 2019); In re Windstream, No. 19-22312 (RDD) (Bankr. S.D.N.Y. April 22, 2019) (same);

In re Mission Coal Company LLC, No. 18-04177 (TLM) (Bankr. N.D. Ala. Nov. 20, 2018) (same);




                                                21
20826820.1
Case 20-50133-grs          Doc 55      Filed 02/06/20 Entered 02/06/20 07:04:35                   Desc Main
                                      Document      Page 22 of 33


In re Westmoreland Coal Company, No. 18-35672 (DRJ) (Bankr. S.D. Tex. Nov. 15, 2018)

(same).5

         39.     The statutory requirement for obtaining postpetition credit under section 364(c) is

a finding, made after notice and hearing, that a debtor is “unable to obtain unsecured credit

allowable under Section 503(b)(1) of [the Bankruptcy Code].” 11 U.S.C. § 364(c). See In re YL

West 87th Holdings I LLC, 423 B.R. 421, 440-41 (Bankr. S.D.N.Y. 2010) (noting that secured

credit under section 364(c) of the Bankruptcy Code is authorized, after notice and hearing, upon

showing that unsecured credit cannot be obtained). Courts have articulated a three-part test to

determine whether a debtor is entitled to financing under section 364(c) of the Bankruptcy Code.

Specifically, courts look to whether:

                 (a)     the debtor is unable to obtain unsecured credit under section 364(b) of the
                         Bankruptcy Code, i.e., by allowing a lender only an administrative claim;

                 (b)     the credit transaction is necessary to preserve the assets of the estate; and

                 (c)     the terms of the transaction are fair, reasonable, and adequate, given the
                         circumstances of the debtor-borrower and proposed lenders.

See In re Los Angeles Dodgers LLC, 457 B.R. 308 (Bankr. D. Del. 2011); see also In re Ames

Dep’t Stores, 115 B.R. 34, 37-40 (Bankr. S.D.N.Y. 1990); In re St. Mary Hosp., 86 B.R. 393, 401-

02 (Bankr. E.D. Pa. 1988); In re Crouse Grp. Inc., 71 B.R. 544, 549 (Bankr. E.D. Pa 1987).

         40.     As described above and as set forth in the Morgner Declaration, each third-party

lender indicated it would be unwilling to provide postpetition DIP financing on an unsecured,

junior lien, or pari passu basis to the Prepetition Secured Parties. See Morgner Decl. ¶¶ 14-16.

Therefore, the Debtors, in consultation with their advisors, concluded that any workable financing

likely would require the support of, or be provided by, the Debtors’ existing lenders. The Debtors,


5
 Because of the voluminous nature of the orders cited herein, such orders have not been attached to this motion.
Copies of these orders are available upon request of the Debtors’ proposed counsel.


                                                      22
20826820.1
Case 20-50133-grs        Doc 55     Filed 02/06/20 Entered 02/06/20 07:04:35             Desc Main
                                   Document      Page 23 of 33


however, also negotiated with their creditors and surveyed certain potential lending sources for

actionable alternative proposals-but determined that the DIP Facility provides the best collective

opportunity available to the Debtors under the circumstances to fund these Cases. See id.

         41.   Absent the DIP Facility, which will assure creditors that the Debtors will have

sufficient liquidity to administer these Cases, the value of the Debtors’ estates would be

significantly impaired to the detriment of all stakeholders. See Morgner Decl. ¶ 17. Without

postpetition financing, the Debtors lack sufficient funds to operate their enterprise, continue paying

their debts as they come due, and cover the projected costs of these Cases. See id. Given the

Debtors’ circumstances, the Debtors believe that the terms of the DIP Loan Agreement, and the

other DIP Loan Documents, are reasonable as more fully set forth above and in the Morgner

Declaration. See id. at ¶¶ 18-20 For all these reasons, the Debtors submit that they have met the

standard for obtaining postpetition financing.

         42.   In the event that a debtor is unable to obtain unsecured credit allowable as an

administrative expense under section 503(b)(1) of the Bankruptcy Code, section 364(c) of the

Bankruptcy Code provides that a court “may authorize the obtaining of credit or the incurring of

debt (a) with priority over any or all administrative expenses of the kind specified in section 503(b)

or 507(b) of [the Bankruptcy Code]; (b) secured by a lien on property of the estate that is not

otherwise subject to a lien; or (c) secured by a junior lien on property of the estate that is subject

to a lien.” As described above, the Debtors are unable to obtain unsecured credit or junior credit,

or credit on a pari passu basis, or credit secured by unencumbered property only. See Morgner

Decl. ¶¶ 14-16. Therefore, approving a superpriority claim in favor of the DIP Agent, for the

benefit of the DIP Lenders, is reasonable and appropriate.




                                                 23
20826820.1
Case 20-50133-grs        Doc 55     Filed 02/06/20 Entered 02/06/20 07:04:35             Desc Main
                                   Document      Page 24 of 33


         43.   Further, section 364(d) of the Bankruptcy Code provides that a debtor may obtain

credit secured by a senior or equal lien on property of the estate already subject to a lien, after

notice and a hearing, where the debtor is “unable to obtain such credit otherwise” and “there is

adequate protection of the interest of the holder of the lien on the property of the estate on which

such senior or equal lien is proposed to be granted.” 11 U.S.C. § 364(d)(1). The Debtors may

incur “priming” liens under the DIP Loan Agreement if either (a) the Prepetition Lenders have

consented or (b) Prepetition Lenders’ interest in collateral are adequately protected. See Anchor

Savs. Bank FSB v. Sky Valley, Inc., 99 B.R. 117, 122 (N.D. Ga. 1989) (“[B]y tacitly consenting to

the superpriority lien, those [undersecured] creditors relieved the debtor of having to demonstrate

that they were adequately protected.”). Accordingly, the Debtors may incur “priming” liens under

the DIP Loan Documents if either (a) their prepetition lenders have consented or (b) the prepetition

lenders’ interests in collateral are adequately protected.

         44.   Here, the Prepetition Lenders have affirmatively consented to the DIP Loan

Documents and actively facilitated the proposed DIP Loan Documents. Moreover, as set forth

more fully in the Interim Order, the Debtors propose to provide a variety of adequate protection to

protect the interests of the Prepetition Lenders. Therefore, the relief requested pursuant to section

364(d)(1) of the Bankruptcy Code is appropriate.

         C.    No Comparable Alternative to the DIP Facility is Reasonably Available on
               More Favorable Overall Terms.

         45.   A debtor need only demonstrate “by a good faith effort that credit was not available

without” the protections afforded to potential lenders by sections 364(c) of the Bankruptcy Code.

In re Snowshoe Co., Inc., 789 F.2d 1085, 1088 (4th Cir. 1986); see also In re Plabell Rubber

Prods., Inc., 137 B.R. 897, 900 (Bankr. N.D. Ohio 1992). Moreover, in circumstances where only

a few lenders likely can or will extend the necessary credit to a debtor, “it would be unrealistic and


                                                 24
20826820.1
Case 20-50133-grs        Doc 55     Filed 02/06/20 Entered 02/06/20 07:04:35           Desc Main
                                   Document      Page 25 of 33


unnecessary to require [the debtor] to conduct such an exhaustive search for financing.” In re Sky

Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga. 1988), aff’d sub nom. Anchor Sav. Bank FSB v.

Sky Valley, Inc., 99 B.R. 117, 120 n.4 (N.D. Ga. 1989); see also In re Snowshoe Co., 789 F. 2d

1085, 1088 (4th Cir. 1986) (demonstrating that credit was unavailable absent the senior lien by

establishment of unsuccessful contact with other financial institutions in the geographic area); In

re Stanley Hotel, Inc., 15 B.R. 660, 663 (D. Colo. 1981) (bankruptcy court’s finding that two

national banks refused to grant unsecured loans was sufficient to support conclusion that section

364 requirement was met); Ames Dep’t Stores, 115 B.R. at 37-39 (debtor must show that it made

reasonable efforts to seek other sources of financing under section 364(a) and (b)).

         46.   As noted above, the Debtors do not believe that a more favorable alternative DIP

financing is reasonably available.      Thus, the Debtors have determined that the DIP Loan

Agreement provides the most favorable terms. Simply put, the DIP Loan Agreement provides the

Debtors with the liquidity they need at the lowest cost available while simultaneously placing the

Debtors on an optimal path for a successful restructuring. Therefore, the Debtors submit that the

requirement of section 364 of the Bankruptcy Code that alternative credit on more favorable terms

be unavailable to the Debtors is satisfied.

         II.   The Debtors Should Be Authorized to Use the Cash Collateral.

         47.   Section 363 of the Bankruptcy Code generally governs the use of estate property.

Section 363(c)(2)(A) of the Bankruptcy Code permits a debtor in possession to use Cash Collateral

with the consent of the secured party. Here, the DIP Lenders and the Prepetition Lenders consent

or are deemed to consent to the Debtors’ use of the Cash Collateral, subject to the terms and

limitations set forth in the Interim Order.

         48.   Section 363(e) of the Bankruptcy Code provides for adequate protection of interests

in property when a debtor uses Cash Collateral. Further, section 3 62(d)(1) of the Bankruptcy

                                                25
20826820.1
Case 20-50133-grs        Doc 55     Filed 02/06/20 Entered 02/06/20 07:04:35            Desc Main
                                   Document      Page 26 of 33


Code provides for adequate protection of interests in property due to the imposition of the

automatic stay. See In re Cont’l Airlines, 91 F.3d 553, 556 (3d Cir. 1996) (en banc). While section

361 of the Bankruptcy Code provides examples of forms of adequate protection, such as granting

replacement liens and administrative claims, courts decide what constitutes sufficient adequate

protection on a case-by-case basis. See, e.g., In re Swedeland Dev. Grp., Inc., 16 F.3d 552, 564

(3d Cir. 1994) (explaining that the “determination of whether there is adequate protection is made

on a case by case basis”); In re Satcon Tech. Corp., No. 12-12869 (KG), 2012 WL 6091160, at *6

(Bankr. D. Del. Dec. 7, 2012) (same); In re N.J. Affordable Homes Corp., No. 05-60442 (DHS),

2006 WL 2128624, at *14 (Bankr. D.N.J. June 29, 2006) (“the circumstances of the case will

dictate the necessary relief to be given”); In re Columbia Gas Sys., Inc., Nos. 91-803, 91-804, 1992

WL 79323, at *2 (Bankr. D. Del. Feb. 18, 1992) (“[W]hat interest is entitled to adequate protection

and what constitutes adequate protection must be decided on a case-by-case basis.”); see also In

re Dynaco Corp., 162 B.R. 389, 394 (Bankr. D.N.H. 1993) (citing 2 Collier on Bankruptcy

¶ 361.01[1] at 361-66 (15th ed. 1993) (explaining that adequate protection can take many forms

and “must be determined based upon equitable considerations arising from the particular facts of

each proceeding”)).

         49.     As more fully set forth in Section 3 of the Interim Order, the Debtors propose to

provide the Prepetition Secured Parties with a variety of adequate protection to protect against the

postpetition Diminution in Value of the Cash Collateral resulting from the use, sale, or lease of the

Cash Collateral by the Debtors and the imposition of the automatic stay (the “Adequate Protection

Obligations”).

         50.     The Debtors submit that the proposed Adequate Protection Obligations are

sufficient to protect the Prepetition Secured Parties from any potential diminution in value to the



                                                 26
20826820.1
Case 20-50133-grs         Doc 55     Filed 02/06/20 Entered 02/06/20 07:04:35          Desc Main
                                    Document      Page 27 of 33


Cash Collateral. In light of the foregoing, the Debtors further submit, and the Prepetition Secured

Parties agree, that the proposed Adequate Protection Obligations to be provided for the benefit of

the Prepetition Secured Parties are appropriate. Thus, the Debtors’ provision of the Adequate

Protection Obligations is not only necessary to protect against any diminution in value but is fair

and appropriate under the circumstances of these Cases to ensure the Debtors are able to continue

using the Cash Collateral, subject to the terms and limitations set forth in the Interim Order, for

the benefit of all parties in interest and their estates:

III.     The Debtors Should Be Authorized to Pay the Fees Required by the DIP Lenders and
         DIP Agent Under the DIP Loan Documents.

         51.    Under the DIP Loan Documents, the Debtors have agreed, subject to Court

approval, to pay certain fees to the DIP Agent and the DIP Lenders. In particular, as noted above,

the Debtors have agreed to pay the following fees:

                (a)     to the DIP Agent:

                        (i)      an Initial Loan Facility Fee of $55,000.00;

                        (ii)     an Additional Loan Facility Fee of $145,000; and

                        (iii)    an Administration Fee of 50,000.00.

         52.    Courts in this jurisdiction and others have approved similar aggregates in fees in

large chapter 11 cases. See, e.g., In re Cambrian Holding Company, Inc., No. 19-51200 (GRS)

(Bankr. E.D. Ky. Jul. 25, 2019) (approving a commitment fee equal to 2.5 percent of the total DIP

commitment in the final order); see also In re Sanchez Energy Corporation, No. 19-34508 (MI)

(Bankr. S.D. Tex. Aug. 15, 2019) (approving an exit fee of 1 percent of the aggregate DIP loan

and a backstop fee of 5 percent of each lender’s commitment); In re ATD Corporation, No. 18-

12221 (KJC) (Bankr. D. Del. Oct. 26, 2018) (approving a cash fee of approximately 2.0 percent

of the overall DIP facilities in the final order); In re PES Holdings LLC, No. 18-10122 (KG)



                                                    27
20826820.1
Case 20-50133-grs       Doc 55      Filed 02/06/20 Entered 02/06/20 07:04:35               Desc Main
                                   Document      Page 28 of 33


(Bankr. D. Del. Jan. 23, 2018) (approving a cash fee of approximately 2.0 percent of the overall

DIP facilities in the interim order); In re Toys “R” US, Inc., No. 17-34665 (KLP) (Bankr. E.D.Va.

Sept. 20, 2017) (approving aggregate fees that were slightly less than 3.0 percent of the overall

DIP facilities in the interim order). In re Alpha Natural Resources, Inc., No. 15-33896 (KRH)

(Bankr. E.D. Va. Sep. 17, 2015) (approving an upfront fee of 5.00% of the aggregate principal

amount of the postpetition term loan).

         53.   It is understood and agreed by all parties, that these fees are an integral component

of the overall terms of the DIP Facility, and were required by the DIP Secured Parties as

consideration for the extension of postpetition financing. See Morgner Decl. ¶ 18. Accordingly,

the Court should authorize the Debtors to pay the fees provided under the DIP Loan Documents

in connection with entering into those agreements.

IV.      The DIP Lenders Should Be Deemed Good-Faith Lenders Under Section 364(e).

         54.   Section 364(e) of the Bankruptcy Code protects a good-faith lender’s right to

collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

appeal. Section 364(e) of the Bankruptcy Code provides that:

               The reversal or modification on appeal of an authorization under this
               section [364 of the Bankruptcy Code] to obtain credit or incur debt,
               or of a grant under this section of a priority or a lien, does not affect
               the validity of any debt so incurred, or any priority or lien so granted,
               to an entity that extended such credit in good faith, whether or not
               such entity knew of the pendency of the appeal, unless such
               authorization and the incurring of such debt, or the granting of such
               priority or lien, were stayed pending appeal.

         55.   As explained herein and in the Morgner Declaration, the DIP Loan Documents are

the result of (a) the Debtors’ reasonable and informed determination that the DIP Lenders provided

the best postpetition financing alternative available under the circumstances and (b) extended


                                                  28
20826820.1
Case 20-50133-grs        Doc 55     Filed 02/06/20 Entered 02/06/20 07:04:35             Desc Main
                                   Document      Page 29 of 33


arm’s length, good-faith negotiations between the Debtors and the DIP Lenders. The Debtors

submit that the terms and conditions of the DIP Loan Documents are reasonable under the

circumstances, and the proceeds of the DIP Facility will be used only for purposes that are

permissible under the Bankruptcy Code. Further, no consideration is being provided to any party

to the DIP Loan Documents other than as described herein. Accordingly, the Court should find

that the DIP Lenders are “good faith” lenders within the meaning of section 364(e) of the

Bankruptcy Code and are entitled to all of the protections afforded by that section.

V.       The Automatic Stay Should Be Modified on a Limited Basis.

         56.   The proposed Interim Order provides that the automatic stay provisions of section

362 of the Bankruptcy Code will be modified to allow the DIP Secured Parties to file any financing

statements, security agreements, notices of liens, and other similar instruments and documents in

order to validate and perfect the liens and security interests granted to them under the Interim

Order. The proposed Interim Order further provides that the automatic stay is modified as

necessary to permit the Debtors to grant liens to the DIP Secured Parties and to incur all liabilities

and obligations set forth in the Interim Order. Finally, the proposed Interim Order provides that,

following the occurrence of a DIP Event of Default or Event of Default (as defined in the DIP

Loan Agreement) and an appropriate opportunity for the Debtors to obtain appropriate relief from

the Court, the automatic stay shall be vacated and modified to the extent necessary to permit each

of the DIP Agent or the Prepetition Agent, as applicable, to exercise all rights and remedies in

accordance with the DIP Loan Documents, or applicable law.

         57.   Stay modifications of this kind are ordinary and standard features of debtor in

possession financing arrangements and, in the Debtors’ business judgment, are reasonable and fair

under the circumstances of these Cases. See, e.g., In re Milacron Inc., No. 09-11235 (NA) (Bankr.

S.D. Ohio Apr. 10, 2009) (modifying automatic stay to permit DIP lender to exercise rights under

                                                 29
20826820.1
Case 20-50133-grs        Doc 55     Filed 02/06/20 Entered 02/06/20 07:04:35             Desc Main
                                   Document      Page 30 of 33


the DIP Loan Agreement documents); see also In re Forever 21, Inc., No. 19-12122 (KG) (Bankr.

D. Del. Sept. 29, 2019) (terminating automatic stay after an event of default on an interim basis);

In re Charming Charlie LLC, No. 19-11534 (CSS) (Bankr. D. Del. July 12, 2019) (terminating

automatic stay after a default or event of default and a notice period); In re Oreck Corporation,

No. 13-04006 (KML) (Bankr. M.D. Tenn. June 12, 2013) (terminating automatic stay after a

default or event of default and a notice period); In re James River Coal Co., No. 03-04095 (MFH)

(Bankr. M.D. Tenn. Mar. 26, 2003) (same).

VI.      Failure to Obtain Immediate Interim Access to the DIP Facility and Cash Collateral
         Would Cause Immediate and Irreparable Harm.

         58.   Bankruptcy Rules 4001(b) and 4001(c) provide that a final hearing on a motion to

obtain credit pursuant to section 364 of the Bankruptcy Code or to use Cash Collateral pursuant to

section 363 of the Bankruptcy Code may not be commenced earlier than 14 days after the service

of such motion. Upon request, however, the Court may conduct a preliminary, expedited hearing

on the motion and authorize the obtaining of credit and use of cash collateral to the extent necessary

to avoid immediate and irreparable harm to a debtor’s estate.

         59.   For the reasons noted above, the Debtors have an immediate postpetition need to

use Cash Collateral, and access the liquidity provided by the DIP Facility. The Debtors cannot

maintain the value of their estates during the pendency of these Cases without access to cash. The

Debtors will use cash, among other things, to fund the operation of their business, including paying

employee wages and benefits, ensure that vendors continue to provide necessary goods and

services, and to fund the administration of these Cases. Substantially all of the Debtors’ available

cash constitutes the Cash Collateral of the Prepetition Lenders. The Debtors will therefore be

unable to operate their business or otherwise fund these Cases without access to Cash Collateral,

and will suffer immediate and irreparable harm to the detriment of all creditors and other parties


                                                 30
20826820.1
Case 20-50133-grs        Doc 55      Filed 02/06/20 Entered 02/06/20 07:04:35               Desc Main
                                    Document      Page 31 of 33


in interest. See Morgner Decl. ¶ 11. In short, the Debtors’ ability to administer these Cases through

the use of Cash Collateral is vital to preserve and maximize the value of the Debtors’ estates.

         60.    The Debtors request that the Court hold and conduct a hearing to consider entry of

the Interim Order authorizing the Debtors, from and after entry of the Interim Order until the Final

Hearing, to receive initial funding under the DIP Facility. The Debtors require the initial funding

under the DIP Facility prior to the Final Hearing and entry of the final order to continue operating,

pay their administrative expenses, and to implement the relief requested in the Debtors’ other “first

day” motions. This relief will enable the Debtors to preserve and maximize value and, therefore,

avoid immediate and irreparable harm and prejudice to their estates and all parties in interest,

pending the Final Hearing.

                                     Request for Final Hearing

         61.    Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors request that

the Court set a date which is no later than 30 days after the entry of the Interim Order, to hold a

hearing to consider entry of the final order and the permanent approval of the relief requested in

this motion. The Debtors also request authority to serve a copy of the signed Interim Order, which

fixes the time and date for the filing of objections, if any, to entry of the final order, by first class

mail upon the notice parties listed below, and further request that the Court deem service thereof

sufficient notice of the hearing on the final order under Bankruptcy Rule 4001(c)(2).

                        Waiver of Bankruptcy Rule 6004(a) and 6004(h)

         62.    To implement the foregoing successfully, the Debtors seek a waiver of the notice

requirements under Bankruptcy Rule 6004(a) and the 14-day stay of an order authorizing the use,

sale, or lease of property under Bankruptcy Rule 6004(h).




                                                   31
20826820.1
Case 20-50133-grs         Doc 55     Filed 02/06/20 Entered 02/06/20 07:04:35            Desc Main
                                    Document      Page 32 of 33


                                          Motion Practice

           63.   This motion includes citations to the applicable rules and statutory authorities upon

which the relief requested herein is predicated and a discussion of their application to this motion.

Accordingly, the Debtors submit that this motion satisfies Local Rule 9013-1(a).

                                          No Prior Request

           64.   No prior request for the relief sought in this motion has been made to this or any

other court.

                                                Notice

           65.   The Debtors sent notice of this Motion on February 5, 2020 to: (a) the Office of the

United States Trustee for the Eastern District of Kentucky, (b) the Debtors’ secured creditors,

(c) the twenty (20) largest unsecured creditors of each Debtor, (d) the Internal Revenue Service,

(e) the Commonwealth of Kentucky Department of Revenue, (f) the Securities and Exchange

Commission, and (g) all other parties who have requested notice in the Cases. The Debtors submit

that the foregoing constitutes adequate notice under the circumstances. Furthermore, the Debtors

will provide further notice of any final hearing on the Motion to parties in interest as the Court

directs.

           66.   Notice is hereby given that the foregoing shall be brought on for hearing before the

United States Bankruptcy Court for the Eastern District of Kentucky, 100 East Vine Street, Second

Floor Courtroom, Lexington, Kentucky on February 6, 2020 at 1:00 p.m. (ET) or as soon as

counsel may be heard.




                                                  32
20826820.1
Case 20-50133-grs       Doc 55     Filed 02/06/20 Entered 02/06/20 07:04:35          Desc Main
                                  Document      Page 33 of 33


         WHEREFORE, the Debtors respectfully request that the Court grant the relief requested

herein, and such other and further relief as the Court deems just and proper.



Dated: February 6, 2020                              Respectfully submitted,
 /s/ James R. Irving                              Michael J. Barrie (pro hac vice pending)
 James R. Irving                                  Jennifer R. Hoover (pro hac vice pending)
 April A. Wimberg                                 BENESCH, FRIEDLANDER, COPLAN, &
 Christopher B. Madden                            ARONOFF LLP
 DENTONS BINGHAM GREENEBAUM LLP                   222 Delaware Avenue, Suite 801
 3500 PNC Tower                                   Wilmington, DE 19801
 101 South Fifth Street                           Telephone: (302) 442-7010 Phone
 Louisville, Kentucky 40202                       E-mail:      mbarrie@beneschlaw.com
 Telephone:     (502) 587-3606                                 jhoover@beneschlaw.com
 Facsimile:     (502) 540-2215
                                                  -and-
 E-mail:        james.irving@dentons.com
                april.wimberg@dentons.com         Elliot M. Smith (pro hac vice pending)
                chris.madden@dentons.com          BENESCH, FRIEDLANDER, COPLAN, &
                                                  ARONOFF LLP
 Proposed counsel to the Debtors                  200 Public Square, Suite 2300
                                                  Cleveland, OH 44114
                                                  Telephone:     (216) 363-4500
                                                  E-mail:        esmith@beneschlaw.com
                                                  Proposed Counsel for the Debtors




                                                33
20826820.1
